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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


SYMBOLOGY INNOVATIONS, LLC                          §
                                                    §
       Plaintiff,                                   §   CIVIL ACTION NO. 3:17-cv-00155-wmc
                                                    §
       v.                                           §   JURY TRIAL DEMANDED
                                                    §
MATCO TOOLS CORPORATION                             §
                                                    §
                                                    §
       Defendant.                                   §

                                      NOTICE OF DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(i), Plaintiff

Symbology Innovations, LLC hereby moves for an order dismissing all claims by Plaintiff against

Defendant Matco Tools Corporation, in this action WITHOUT PREJUDICE, with each party to

bear its own costs, expenses and attorney’s fees.

       RESPECTFULLY SUBMITTED.



 Dated: June 27, 2017                           By: /s/Eugenio J. Torres-Oyola
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       Case: 3:17-cv-00155-wmc Document #: 19 Filed: 06/27/17 Page 2 of 2




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                                                ATTORNEYS FOR PLAINTIFF
                                                SYMBOLOGY INNOVATIONS, LLC



                                 CERTIFICATE OF SERVICE


       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on all counsel who are

deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R.

Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by email,

on this the 27th day of June, 2017.

                                                 /s/ Eugenio J. Torres-Oyola
                                                 Eugenio J. Torres Oyola




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